UNITED STATES CORPORATION AGENTS, INC.

SERVICE OF PROCESS ACCEPTANCE FORM

XX] Wain MAIL
STATE! = M1 0/usA ee Y/21) Y ete
NAME OF COMPANY BEING SERVED: ContTRor. LooP
SERVER'S NAME:

Depoby U.S; Maslal More Y ete

SERVER'S PHONE: 314- 607 - VIG

SERVER'S EMAIL:
lorey. retchat+ @ USDIX. GOV

SERVER'S MAILING ADDRESS: ‘
(For mail service only) Sostn, acocade- ast , Ca fre Gitotdeou / MO

SERVER’S ACKNOWLEDGMENT

| confirm that | am serving documents to United States Corporation Agents, Inc., which is the registered agent for the company
being served.

Server's Signature (for walk-in se Bate? ae Date

Acceptor’s Name (Please print clearly)

“‘kevay, saad qlziay

Acceptor’s Signature Date

SHIPMENT TRACKING NUMBER:

T1223 AHP. oAQ

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Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Pageiof14

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 2 of 14

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
In re:
Global Control Systems, Inc.,
: — Case No. 14-0657-CV-W-DGK
Derek Francis Luebbert, et al.
Defendants.
NOTICE OF GARNISHMENT
; AND
SUMMONS OF GARNISHEE
Control Loop
c/o: United States Corporation Agents, Inc.
1028 N. Kingshighway St.
Cape Girardeau, MO 63701-3503

Return Date: September 09, 2024

I, the undersigned United States Marshal, do declare to you, that I do attach, levy upon and seize in
your hands, not to exceed statutory limitations as provided in 15 U.S.C. Sections 1671-1677 and R.S.MO.
525.030, all debts owing by you to the above named defendant, Derek Francis Luebbert, together with all
property, money, rights, credits, bonds, bills, notes, drafts, checks and other choices in action, and also all
other personal property, as well as other kinds of property whatsoever liable to garnishment of said
defendant(s) in your possession or charge or under your control, or now owing by you and all that may come
into your possession and charge or control, or become owing by you, between this time and the time of filing
your answer herein 30 days.

And I further declare to you that I do attach, levy upon and seize in your hands all debts now due
from you to the said defendant as well as all that may become due hereafter and before said time of your
answer, not to exceed statutory limitations as provided in 15 U.S.C. Sections 1671-1677 and R.S.MO.
525.030, or so much thereof as shall be sufficient to satisfy the following:

Principal: $ 655,509.04
Interest as of 04/08/2024: $ 473,097.94
Garnishment Proceedings Received: $ 0.00
Costs to Date: is.
Total for Gamishment: $ 1,128,606.98

And I further declare to you that you are hereby summoned and required to mail, or exhibit and
file, your original answer to the Interrogatories served simultaneously with this Notice and Summons of

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Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 3 of 14
Garnishment within ten (10) days after the return date of the Writ of Execution (30 days from the date of the
issuance of the Writ), also the return date of the Notice of Gamishment and Summons, to the Clerk of the said
Court at:

Paige Wymore-Wynn

Clerk of U.S. Bankruptcy Court
U.S. Courthouse, Room

1510 400 East 9th Street
Kansas City, MO 64106

and mail a copy of the answer to plaintiff's attorney at:

Ronald S$. Weiss

Berman, DeLeve, Kuchan & Chapman
1100 Main Street, Suite 2850

Kansas City, MO 64105

otherwise, YOU ARE HEREBY SUMMONED to be and appear before the said court on a certain day, then
and there to answer upon oath such allegations and interrogatories as have been exhibited to you by Plaintiff
and abide by the further order of the Court.

Given under my hand at Kansas City, Missouri, on the date first below written.

Scott Seeling
Acting United States Marshal
Western District of Missouri
By:
Deputy
E/ 18/24
Date 7 fr {
2

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 4of 14
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

In re:

Global Control Systems, Inc.,
Plaintiff, Case No. 14-0657-CV-W-DGK

vs,

Derek Francis Luebbert, et al.

Defendants.

PRAECIPE FOR WRIT OF EXECUTION AND/OR GARNISHMENT.

TO THE CLERK:

ISSUE WRIT OF EXECUTION in the above matter, directed to the United States Marshal (Special Process Server)
for service on defendant/judgment debtor, Derek Francis Luebbert, 4103 Oak Street, Kansas City, MO.
64111. An amended judgment entered in this court against Derek Luebbert was entered on August 4, 2016, in
the amount of $655,509.04, of which $655,509.04 remains unsatisfied, together with interest of $473,097.94 and
costs of $0.00 for a total of $1,128,606.98 which remains unsatisfied, as calculated on this 8° day of August
2024, by the undersigned.

RETURNABLE: 30 days

Global Control Systems, Inc.

By: _ s/ Ro S. Weiss
Ronatd S. Weiss, MO#21215

1100 Main Street, Suite 2850
Kansas City, MO 64105
(816) 471-5900 telephone
(816) 842-9955 facsimile
rweiss@bdkc.com
ATTORNEYS FOR PLAINTIFF

DATE: August 8, 2024

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 5of14
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION

Inre:
Global Control Systems, Inc.,

Piainittf, Case No. 14-0657-CV-W-DGK
vs.
Derek Francis Luebbert, et al.

Defendants.

Warr oF EXECUTION

TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF MISSOURI:

WHEREAS, on the 4 day of August, A.D., 2016 in a cause styled as above, judgment was rendered in this Court,
or other United States District Court as indicated above and registered herein, in favor of Plaintiff, Global
Control Systems, and against Derek Francis Luebbert, et al, herein after called debtor, for the sum of
$655,509.04,

AND WHEREAS, the judgment was entered and docketed in the office of the Clerk, and the sum of $655,509.04
dollars is now actually due and unpaid thereon, with interest and costs as computed by Plaintiff.

‘THEREFORE, YOU ARE COMMANDED, that of the goods and chattels, lands, and tenements of the said judgment
debtor you cause to be made the full amount of said judgment, interest, and costs.

HEREIN FAIL NOT, and have you the said monies, together with this writ, before this Court on the 9° day of
September 2024, (30 days from the date of service on this writ.)

‘WITNEss my hand and the seal of this Court at Kansas City, Missouri, this 8° day of August 2024.

Case 4:14-cv-00657-DGK Document 279-1 “PiHetre#11/24 Page 6 of 14

Date: 8/9/2024 tO heen:
Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 7 of 14
computed — earnings defined — penalty.

1. No sheriff or other officer charged with the collection of
money shall, prior to the return day of an execution or
other process upon which the same may be made, be
liable to be summoned as garnishee; nor shall any
county collector, county treasurer or municipal
corporation, or any officer thereof, or any administrator
or executor of an estate, prior to an order of distribution,
or for payment of legacies, or the allowance of a demand
found to be due by his estate, be liable to be summoned
as garnishee; nor shall any person be so charged by
reason of his having drawn, accepted, made or endorsed
any promissory note, bill of exchange, draft or other
security, in its nature negotiable, unless it be shown at
the hearing that such note, bill or other security was the
property of the defendant when the garnishee was
summoned, and continued so to be until it became due.

2. (1) The maximum part of the aggregate earnings of any
individual for any workweek, after the deduction from
those earnings of any amounts required by law to be
withheld, which is subjected to garnishment may not
exceed (a) twenty-five percentum, or, (b) the amount by
which his aggregate earnings for that week, after the
deduction from those earnings of any amounts required
to be withheld by law, exceed thirty times the federal
minimum hourly wage prescribed by section 6(a)(1) of
the Fair Labor Standards Act of 1938 in effect at the
time the earnings are payable, or, (c) if the employee is
the head of a family and a resident of this state, ten
percentum, whichever is less.

(2) The restrictions on the maximum earnings subjected
to garnishment do not apply in the case of any order of
any court for the support of any person, any order of any
court of bankruptcy under chapter XIII of the Bankruptc
Act or any debt due for any state or federal tax.

(3) For pay periods longer than one week, the provisions
of subsection 2(a) and (c) of this section shall apply to the
maximum earnings subjected to garnishment for all
workweeks compensated, and under subsection 2(b) of
this section, the "multiple" of the federal minimum
hourly wage equivalent to that applicable to the
earnings subject to garnishment for one week shall be
represented by the following formula: The number of
workweeks or fractions thereof (x) x 80 x the applicable
federal minimum wage. For the purpose of this formula,

2

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 8 of 14
a calendar month shall be considered to consist of 4 1/3
workweeks, a semimonthly period to consist of 2 1/6
weeks. The "multiple" for any other pay period longer
than one week shall be computed in a manner consistent
herewith.

(4) The restrictions on the maximum amount of earnings
subjected to garnishment shall also be applicable to all
proceedings involving the sequestration of wages of
employees of all political subdivisions.

(5) The term “earnings” as used herein means
compensation paid or payable for personal services,
whether denominated as wages, salary, commission,
bonus, or otherwise, and includes periodic payments
pursuant to a pension or retirement program.

3. In any proceeding of garnishment or sequestration of
wages under the provisions of sections 525.010 to
525.480, the maximum part of the aggregate earnings of
any individual in any workweek which shall be subject
to garnishment or sequestration pursuant to the
provisions of subsection 2 of this section shall be
construed to constitute all wages or earnings of the
defendant in the garnishee's possession or charge or to
be owing by him to the defendant in that week.

4. No notice, summons, or writ of garnishment, or
sequestration of wages issued or served under sections
525.010 to 525.480 shall attach or purport to attach any
wages in excess of the amounts prescribed in subsection
2 of this section and each such notice, summons, or writ
shall have clearly and legibly reproduced thereon the
provisions of subsections 2, 5 and 6 of this section.

5. No employer may discharge any employee by reason of
the fact that his earnings have been subjected to
garnishment or sequestration for anyone indebtedness.

6. Whoever willfully violates the provisions of subsection 5
of this section is guilty of a misdemeanor.

8. RSMo 513.430.
513.430. Property exempt from attachment —
construction of section. — 1. The following property

shall be exempt from attachment and execution to the
extent of any person's interest therein:

(1) Household furnishings, household goods, wearing
apparel, appliances, books, animals, crops or musical

3

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 9 of 14
instruments that are held primarily for personal, family
or household use of such person or a dependent of such
person, not to exceed three thousand dollars in value in
the aggregate;

(2) A wedding ring not to exceed one thousand five
hundred dollars in value and other jewelry held
primarily for the personal, family or household use of
such person or a dependent of such person, not to exceed
five hundred dollars in value in the aggregate;

(3) Any other property of any kind, not to exceed in
value six hundred dollars in the aggregate;

(4) Any implements or professional books or tools of the
trade of such person or the trade of a dependent of such
person not to exceed three thousand dollars in value in
the aggregate;

(5) Any motor vehicles, not to exceed three thousand
dollars in value in the aggregate;

(6) Any mobile home used as the principal residence but
not attached to real property in which the debtor has a
fee interest, not to exceed five thousand dollars in value;

(7) Any one or more unmatured life insurance contracts
owned by such person, other than a credit life insurance
contract, and up to fifteen thousand dollars of any
matured life insurance proceeds for actual funeral,
cremation, or burial expenses where the deceased is the
spouse, child, or parent of the beneficiary;

(8) The amount of any accrued dividend or interest
under, or loan value of, any one or more unmatured life
insurance contracts owned by such person under which
the insured is such person or an individual of whom such
person is a dependent; provided, however, that if
proceedings under Title 11 of the United States Code are
commenced by or against such person, the amount
exempt in such proceedings shall not exceed in value one
hundred fifty thousand dollars in the aggregate less any
amount of property of such person transferred by the life
insurance company or fraternal benefit society to itself
in good faith if such transfer is to pay a premium or to
carry out a nonforfeiture insurance option and is
required to be so transferred automatically under a life
insurance contract with such company or society that
was entered into before commencement of such
proceedings. No amount of any accrued dividend or

4

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 10of 14
interest under, or loan value of, any such life insurance
contracts shall be exempt from any claim for child
support. Notwithstanding anything to the contrary, no
such amount shall be exempt in such proceedings under
any such insurance contract which was purchased by
such person within one year prior to the commencement
of such proceedings;

(9) Professionally prescribed health aids for such person
or a dependent of such person;

(10) Such person's right to receive:

(a) A Social Security benefit, unemployment
compensation or a public assistance benefit;

(b) A veteran's benefit;
(c) A disability, illness or unemployment benefit;

(d) Alimony, support or separate maintenance, not to
exceed seven hundred fifty dollars a month;

(e) a. Any payment under a stock bonus plan, pension
plan, disability or death benefit plan, profit-sharing
plan, nonpublic retirement plan or any plan described,
defined, or established pursuant to section 456.014, the
person's right to a participant account in any deferred
compensation program offered by the state of Missouri
or any of its political subdivisions, or annuity or similar
plan or contract on account of illness, disability, death,
age or length of service, to the extent reasonably
necessary for the support of such person and any
dependent of such person unless:

(i) Such plan or contract was established by or under
the auspices of an insider that employed such person at
the time such person's rights under such plan or contract
arose;

(ii) Such payment is on account of age or length of
service; and

(iii) Such plan or contract does not qualify under Section
401(a), 403(a), 403(b), 408, 408A or 409 of the Internal
Revenue Code of 1986, as amended, (26 U.S.C. Section
401(a), 403(a), 403(b), 408, 408A or 409).

b. Notwithstanding the exemption provided in
subparagraph a. of this paragraph, any such payment to
any person shall be subject to attachment or execution
pursuant to a qualified domestic relations order, as
defined by Section 414(p) of the Internal Revenue Code

5

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 11 of 14
of 1986 (26 U.S.C. Section 414(p)), as amended, issued
by a court in any proceeding for dissolution of marriage
or legal separation or a proceeding for disposition of
property following dissolution of marriage by a court
which lacked personal jurisdiction over the absent
spouse or lacked jurisdiction to dispose of marital
property at the time of the original judgment of
dissolution;

(f) Any money or assets, payable to a participant or
beneficiary from, or any interest of any participant or
beneficiary in, a retirement plan, profit-sharing plan,
health savings plan, or similar plan, including an
inherited account or plan, that is qualified under Section
401(a), 403(a), 403(b), 408, 408A or 409 of the Internal
Revenue Code of 1986 (26 U.S.C. Section 401(a), 403(a),
403(b), 408, 408A, or 409), as amended, whether such
participant's or beneficiary's interest arises by
inheritance, designation, appointment, or otherwise,
except as provided in this paragraph. Any plan or
arrangement described in this paragraph shall not be
exempt from the claim of an alternate payee under a
qualified domestic relations order; however, the interest
of any and all alternate payees under a qualified
domestic relations order shall be exempt from any and
all claims of any creditor, other than the state of
Missouri through its department of social services. As
used in this paragraph, the terms "alternate payee" and
“qualified domestic relations order” have the meaning
given to them in Section 414(p) of the Internal Revenue
Code of 1986 (26 U.S.C. Section 414(p)), as amended. If
proceedings under Title 11 of the United States Code are
commenced by or against such person, no amount of
funds shall be exempt in such proceedings under any
such plan, contract, or trust which is fraudulent as
defined in subsection 2 of section 428.024 and for the
period such person participated within three years prior
to the commencement of such proceedings. For the
purposes of this section, when the fraudulently conveyed
funds are recovered and after, such funds shall be
deducted and then treated as though the funds had
never been contributed to the plan, contract, or trust;

(11) The debtor's right to receive, or property that is
traceable to, a payment on account of the wrongful death
of an individual of whom the debtor was a dependent, to
the extent reasonably necessary for the support of the
debtor and any dependent of the debtor;

6
Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 12 of 14
(12) Firearms, firearm accessories, and ammunition,
not to exceed one thousand five hundred dollars in value
in the aggregate;

(13) Any moneys accruing to and deposited in individual
savings accounts or individual deposit accounts under
sections 166.400 to 166.456 or sections 166.500 to
166.529, subject to the following provisions:

(a) This subdivision shall apply to any proceeding that:
a. Is filed on or after January 1, 2022; or

b. Was filed before January 1, 2022, and is pending or
on appeal after January 1, 2022;

(b) Except as provided by paragraph (c) of this
subdivision, if the designated beneficiary of an
individual savings account or individual deposit account
established under sections 166.400 to 166.456 or
sections 166.500 to 166.529 is a lineal descendant of the
account owner, all moneys in the account shall be
exempt from any claims of creditors ofthe account owner
or designated beneficiary;

(c) The provisions of paragraph (b) of this subdivision
shall not apply to: :

a. Claims of any creditor of an account owner as to
amounts contributed within a two-year period preceding
the date of the filing of a bankruptcy petition under 11
U.S.C. Section 101 et seq., as amended; or

b. Claims of any creditor of an account owner as to
amounts contributed within a one-year period preceding
an execution on judgment for such claims against the
account owner.

2. Nothing in this section shall be interpreted to exempt
from attachment or execution for a valid judicial or
administrative order for the payment of child support or
maintenance any money or assets, payable to a
participant or beneficiary from, or any interest of any
participant or beneficiary in, a retirement plan which is
qualified pursuant to Sections 408 and 408A of the
Internal Revenue Code of 1986 (26 U.S.C. Sections 408
and 408A), as amended.

9. If you have questions, you should contact your attorney.

7
Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 13 of 14
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

In re:
Global Control Systems, Inc.,
Plai 7
7 aay Case No. 14-0657-CV-W-DGK

Derek Francis Luebbert, et al.

Defendants.

NOTICE TOG. SHEE/EMPLOYER

1. Interrogatories are served with a summons of gamishment. You must file and serve your answers to the

interrogatories within ten days after the return date.

2. If you are an employer: Notify your employee that his/her wages have been garnished and that you will
hold 25% of his/her earnings (if not for child support or maintenance), after deductions required by law, or, if
the employee is a head of a family and a resident of this state, 10% after deductions required by law
(AMOUNTS TO WITHHOLD FOR CHILD SUPPORT AND MAINTENANCE ARE ESTABLISHED BY
FEDERAL LAW), until:

a. Hesecures a release from the Court; or
b. You get an order from the Court.

3. Then withhold the amount required to be held until the return date shown on the garnishment form. Do
not send money to the Court without further instructions from the Court. Deductions required by law are limited
to federal, state and city income and earnings taxes and FICA taxes.

4, If you are a depository such as a bank or savings and loan: You are required to hold funds in the account
of the defendant(s) as directed by the summons of garnishment and notify the defendant(s) of what you have
done. If any further funds subject to garnishment are deposited by the defendant(s) these also must be held. You
are responsible for all funds in the account or deposited into the account from the date you get these papers until
the retum date shown on the garnishment papers. Do not release funds subject to garnishment from the account
until you receive further instructions from the Court.

>. If you have questions, you should contact your attorney or attorney for the plaintiff.

YOUR ANSWERS T0 INTERROGATORIES ARE TO BE MAILED TO:

@ Bankruptcy Court: Attorneys for Plaintiff:

U.S. Courthouse Berman DeLeve Kuchan & Chapman
400 East 9m Street 1100 Main Street, Suite 2850

Kansas City, MO 64106 Kansas City, MO 64105

Case 4:14-cv-00657-DGK Document 279-1 Filed 11/11/24 Page 14of 14
